Case 8:10-cr-00327-JSM-AAS Document 395 Filed 12/21/11 Page 1 of 7 PageID 843
Case 8:10-cr-00327-JSM-AAS Document 395 Filed 12/21/11 Page 2 of 7 PageID 844
Case 8:10-cr-00327-JSM-AAS Document 395 Filed 12/21/11 Page 3 of 7 PageID 845
Case 8:10-cr-00327-JSM-AAS Document 395 Filed 12/21/11 Page 4 of 7 PageID 846
Case 8:10-cr-00327-JSM-AAS Document 395 Filed 12/21/11 Page 5 of 7 PageID 847
Case 8:10-cr-00327-JSM-AAS Document 395 Filed 12/21/11 Page 6 of 7 PageID 848
Case 8:10-cr-00327-JSM-AAS Document 395 Filed 12/21/11 Page 7 of 7 PageID 849
